
252 P.3d 573 (2011)
In the Matter of Mark P. TILFORD, Respondent.
No. 15713.
Supreme Court of Kansas.
June 3, 2011.

ORDER OF DISBARMENT
In a letter dated May 16, 2011, addressed to the Clerk of the Appellate Courts, respondent Mark P. Tilford, of Corpus Christi, Texas, an attorney admitted to the practice of law in the state of Kansas, voluntarily surrendered his license to practice law in Kansas, pursuant to Supreme Court Rule 217 (2010 Kan. Ct. R. Annot. 362).
At the time the respondent surrendered his license, an investigation was pending on a complaint in accordance with Supreme Court Rule 211 (2010 Kan. Ct. R. Annot. 327). The complaint concerns allegations of misconduct that respondent violated Kansas Rule of Professional Conduct 8.4(b) (2010 Kan. Ct. R. Annot. 603).
This court, having examined the files of the office of the Disciplinary Administrator, finds that the surrender of the respondent's license should be accepted and that the respondent should be disbarred.
IT IS THEREFORE ORDERED that Mark P. Tilford be and he is hereby disbarred from the practice of law in Kansas, and his license and privilege to practice law are hereby revoked.
IT IS FURTHER ORDERED that the Clerk of the Appellate Courts strike the name of Mark P. Tilford from the roll of attorneys licensed to practice law in Kansas.
IT IS FURTHER ORDERED that this order shall be published in the Kansas Reports, that the costs herein shall be assessed to the respondent, and that the respondent forthwith shall comply with Supreme Court Rule 218 (2010 Kan. Ct. R. Annot. 370).
